        Case 3:09-cr-00427-FAB Document 1627 Filed 10/09/20 Page 1 of 1




               United States Court of Appeals
                                For the First Circuit
                                   _____________________

No. 19-1191
                              UNITED STATES OF AMERICA,

                                           Appellee,

                                               v.

                     ALEXIS CANDELARIO-SANTANA, a/k/a "Congo",

                                     Defendant, Appellant.
                                     __________________

                                         JUDGMENT

                                   Entered: October 8, 2020

        This cause came on to be heard on appeal from the United States District Court for the
District of Puerto Rico and was argued by counsel.

        Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
decision of the district court is reversed, and the matter is remanded to the district court with
instructions to strike the government's notice of intent to seek the death penalty in this case.


                                                    By the Court:

                                                    Maria R. Hamilton, Clerk


cc: Hon. Francisco A. Besosa, Maria Antongiorgi Jordan, Clerk, United States District Court for
the District of Puerto Rico, Scott H. Anderson, Victor O. Acevedo-Hernandez, Mariana E. Bauza
Almonte, Kendys Pimentel-Soto, David A. Ruhnke, Javier A. Vega-Villalba
